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 6
     Attorneys for Plaintiff and Counterdefendant
 7   GRUMPY CAT LIMITED
 8                            UNITED STATES DISTRICT COURT

 9         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

10   GRUMPY CAT LIMITED, an Ohio                    Case No: 8:15-cv-02063-DOC-DFM
11
     Limited Liability Entity,
                                                    NOTICE OF LODGING OF
12               Plaintiff,                         PARTIES’ FINAL PRETRIAL
                                                    CONFERENCE ORDER (L.R. 16-7)
13         vs.
14   GRENADE BEVERAGE LLC, a
15   California Limited Liability Company;
     PAUL SANDFORD, an individual;
16   NICK SANDFORD, an individual; and
     DOES 1-50,
17

18
                 Defendants.
                                                    Case filed: December 11, 2015
19   PAUL SANDFORD, an individual;                  FPTC:       December 18, 2017
     NICK SANDFORD, an individual; and                          8:30am
20   GRUMPY BEVERAGE, LLC, a Texas                  Trial date: January 16, 2018
     Limited Liability Company,                     Judge:      Hon. David O. Carter
21

22               Counterclaimants,

23         vs.
24   GRUMPY CAT LIMITED, an Ohio
25
     Limited Liability Entity; and ROES 1-5,

26               Counterdefendants.
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       NOTICE OF LODGING OF FINAL PRETRIAL CONFERENCE ORDER
                                                                           K:\5875-2\PLE
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD
 2   HEREIN:
 3        PLEASE TAKE NOTICE that, pursuant to Local Rule 16-4, Plaintiff
 4   GRUMPY CAT LIMITED hereby lodges the Parties’ Final Pretrial Conference Order.
 5
                                       Respectfully submitted,
 6
     Dated: December 4, 2017           LAVELY & SINGER
 7

 8
                                       By:       /s/ David B. Jonelis
 9                                           David B. Jonelis, Esq.
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12                                           Email: djonelis@lavelysinger.com
13                                           Attorneys for Plaintiff and
                                             Counterdefendant GRUMPY CAT
14                                           LIMITED
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        NOTICE OF LODGING OF FINAL PRETRIAL CONFERENCE ORDER
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